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                           MEMORANDUM OF POINTS AND AUTHORITIES

 2    l.

 3           This is a lawsuit over $250 in alleged damages.

 4           That trivial amount is what Plaintiff Harmeet Dhillon ("Dhillon")          as a

      because a political internet blog, The Munger Games, allegedly used her five-year-old publicity

      headshot photo to accompany a critical article it ran on her. As Dhillon claims in Paragraph          of

      her complaint:

 8
                     20. Pursuant to 17 U.S.C. §504, Ms. Dhillon is entitled to recover the
 9           actual damages suffered by her as a result of Defendants' infringement, in the
10           amount of $250, which represents the reasonable license fee to use the Heads hot
             Photograph. (emphasis added)
11
                 Dhillon confesses in her complaint, she had not even registered a copyright on the

13    photograph when it was supposedly used on February           2013.     she revealed in Paragraph 17,

14    Dhillon rushed out to register the photograph on February 21,2013, and then filed the lawsuit

.15   shortly thereafter. Her motivation to register the photo before suing is self-evident.

16           No one spends the time and money to orchestrate an aggressive federal lawsuit regarding a

17 purported copyright violation for a mere $250. That is especially true where             plaintiii is a public

18 figure. Dhillon boasts in Paragraphs 8 and 9 of the Complaint that she              founder of her San
      Francisco law firm; the Vice Chairman of the California Republican Party;                             San
      Francisco Republican Party; and a twice-unsuccessful candidate for public office. The allegedly

21    infringed work is nothing more than an out-of-date publicity photograph that has absolutely no

22    commercial value.

             The real reason for this lawsuit is far different and completely improper. It is         Dhillon
           discovery throughout the state regarding the identity      the blog's authors.




 7
                                                       -1
28     OPPOSITION OF DOE l AND MICHAEL J. SCHROEDER TO PLAINTIFF'S ADMINISTRATIVE MOTIONS FOR LEAVE
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                 The sole purpose ofthis suit is to silence The Munger Games, which was formed                     this

                                                                           (Cigel DecL, Exhibit "A"). The

          Munger Games reports anonymously on the political activity and consequences of Charles Munger,

   4      Jr. ("Munger"). Munger, the chairman of the Santa Clara County Republican Party, is perhaps

   5      richest activist in California politics. Since January 1, 2012, Munger reportedly spent more than

   6      $42,000,000 in his political projects, as he donated heavily to support the   v~w·u~,..,~   of two statewide

    7     propositions. He also is a substantial contributor to local politicians, including Dhillon l.

   B             Munger is the son and heir of Charles Munger, the billionaire Vice Chairman of Warren

          Buffet's company, Berkshire Hathaway Corporation. Many people believe that Munger

10        his enormous family fortune to do great damage to California and to its politics. Munger has the

11        reputation of being a bully in his political activities. One of the most widely-read political blogs on

12        California politics calls him "the most divisive figure in California Republican politics today."2

1 .)·.)          Munger is a client of Dhillon's law firm. Dhillon filed this lawsuit specifically to permit

14        discovery about the identity of the anonymous authors at The Munger Games. That is why Dhillon

15        is moving so aggressively to subpoena 1) records from non-party Michael J. Schroeder, who is an

16        attorney3    Orange, California (Cigel Decl. at~ 3) and is a former Chairman of the California

          Republican Party; 2) records from Google, the largest internet search engine in the world, in

1 B Sacramento, California; and 3) records from New Dream Network, LLC, the                           Angeles company



          1 In 201 Munger was Dhillon's single largest political contributor, donating $7,500 to
          election for a state senate seat. Attached hereto as Exhibit  is a true and correct copy of a report
21        from the website                         It shows Charles Thomas Munger, Jr. as the top contributor
          to Dhillon's 2012 campaign finances at $7,500.00.
   2



          3 The proposed subpoena to Schroeder is attached as Exhibit 2 to the August      2013 motion (Doc.
25
          20). It not only asks for documents regarding the individual "responsible for" allegedly posting
          blog article about Dhillon, it incredibly asks for "any communication between you
26        individual" at any time since February 12, 2013. Dhillon has no right to ask       seven months
          communications, especially with no regard for possible attorney-client
27
                                                            -2
   8       OPPOSJTION OF DOE I AND MICHAEL J. SCHROEDER TO PLAINTIFF'S ADM!NISTRAT!VE MOTIONS FOR LEAVE
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        that hosts the website for The Munger Games4. The subpoenas             the identity of the anonymous

    2   author who writes the blog articles about Munger and Dhillon, and the owner of email

        used by the blog.

               Munger does not like the blog's articles and wants them stopped. He is not shy to use his

        overwhelming wealth to serve his political interests5. However, he cannot punish the authors until

        he learns who they are. That is where Dhillon's suit and the instant motion comes into play.

               Dhillon's discovery is not proper and her administrative motion should        denied.

            done nothing more than exercise his6 First Amendment           to      speech. Courts         past

        several years have consistently held that internet speech is entitled to the same protection as

1       other kind    speech. Political speech receives the highest level of First Amendment protection

·11     regardless    the forum. Courts have also recognized that a person        First Amendment rights to

l2      remain anonymous in critical speech.

               Due to these stringent constitutional protections, courts have required that anyone            to

14      compel disclosure of an anonymous political speaker's identity must make a strong evidentiary

15      showing of each and every element of a cause of action before disclosure will be ordered. Most

        recently, the Ninth Circuit has adopted the "summary judgment" standard        proof    the context of

        political speech.

1a             As is discussed below, Dhillon cannot meet this standard of proof in her copyright

19      because Mungergames.net's use of her headshot photograph is "Fair           . Thus, Doe 1



        4 The Munger Games tiled a motion in the Central District of California on September 20, 2013 to
        quash that subpoena. The motion, identified as Case No. CV13-07003 JFW (MANx), will be heard
        on October 22, 2013. (Cigel Decl., Exhibit "H").

        5 Munger has already demonstrated that he uses his enormous wealth to crush political
        commentators and adversaries, as he is pursing nearly $250,000 in attorney's fees ~"''u"'"' a political
        critic who has an annual salary of $6,000.
2S
 6      6 To protect Doe 1's anonymity, the singular pronoun "he" will be used without              for whether
        Doe 1 is male or female, or whether there is more than one person. (Cigel Decl. at~ 2)

                                                          3-
         OPPOSITION OF DOE I AND MICHAEL J. SCHROEDER TO PLAINTIFF'S ADMINISTRATIVE MOTIONS FOR LEAVE
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        Schroeder respectfully request that this Court deny Dhillon's two pending motion, the August 22,

    2   2013 motion (Document 20) and the August 26, 2013 motion (Document 24). Dhillon is not

                Doe 1 or Schroeder with any of these papers, and is not explaining the status or intention of

    4   these motions, so it appears that both are still pending with the Court.

    5

    6              COMMENTARY AND NEWS

    7           As explained in the concurrently-filed Declaration of Rick A Cigel, The Munger

        exclusively contains political commentary and news. It is not a commercial site. There is

    9   unrestricted access to its content and there is no charge     viewing the articles. There is nothing for

10      sale. (Cigel Decl.   at~   5).
11              Other internet blogs comment on or repost articles run on The Munger

12      those

13      Political News & Views, at capoliticalnews.com. Through the combined viewership of the three

14      sites, hundreds ofthousands of Californians learn about political issues, news and commentary.

15              Just recently, the Flash Report website published an article criticizing this very lawsuit,

16      which sparked debate and commentary by those reading it. On September 29, 2013, the Flash

1       Report posted an article entitled, "Whether Critical of King George, or Charles Munger, Jr.,

18      Anonymous Speech Should Be Protected." (Cigel Decl., Exhibit "J"). The article discussed the

19      value of anonymous political speech and urged Plaintiff to drop this "questionable and""""'"'""'

        unfortunate lawsuit."            at p.L

                Within hours, the Flash Report article started receiving comments regarding the value of free

        speech, the choice of anonymity, and political issues across a broad spectrum. The article on

        Report was in turn commented on by an article on the capoliticalnews.com website. In summary,

        the Munger Games website is not just a one-on-one match between the anonymous blogger

        Munger. It is a widely read forum that sparks political debate and the        exchange

26      which extends broadly into issues that affect a wide population.

27
                                                          -4-
    8    OPPOSITION OF DOE l AND MICHAEL .L SCHROEDER TO PLAINTIFF'S ADMINISTRATIVE MOTIONS FOR LEAVE
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 I          This is pure First Amendment speech. The political content of                is a cornerstone

     our democracy and deserves the highest of Constitutional protection.



 4              AND TO ENGAGE IN OTHER AND IMPROPER DISCOVERY, DHILLON WANTS

 5

 6          Once Dhillon filed her suit,       quickly and aggressively started her push to force

 7 bloggers to reveal their identity.

 8          First, Dhillon served a subpoena on New Dream Network, LLC, the Southern California

 9   company that hosts the website for Mungergames.net. The subpoena was issued on April 11, 2013

10   and commanded the production of "Documents sufficient to identify the account information           the

11   domain name "Mungergames.net," hosted by DreamHost, including the names, addresses, telephone

12   numbers,      e-mail addresses of the owner(s) of the domain name "Mungergames.net." The

13   subpoena was issued from the Northern District of California and was addressed to New Dream

14   Network, LLC at a Los Angeles, California address. However, it instructed New Dream Network,

15   LLC to produce the documents at Dhillon's office in San Francisco. Cigel            Exhibit

16          Dhillon filed an unsuccessful administrative motion to compel compliance with that

     subpoena. On July 21, 201       this Court denied the motion because it had no jurisdiction under

     F.R.C.P. 45 to enforce a subpoena against a Southern California company. (Cigel Decl., Exhibit

        , Doc. 19). This Court instructed Dhillon that she should seek a subpoena from the

                California that directs production of documents in Los Angeles.

21          On July 22, 2013, Dhillon had another subpoena issued against New Dream Network, LLC,

22   but this time it was issued out of the Central District of California. (Cigel Decl., Exhibit "G"). Doe

23   1 filed a motion to quash the subpoena on the First Amendment grounds stated herein. The motion
     is set for hearing on October      2013. (Cigel Decl., Exhibit "H").
 5          On August       201      Dhillon filed one of the two pending Administrative Motions for

26   to take discovery. She attached two subpoenas that she wanted approval to have issued. She


                                                        -5-
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     the urgent need to have subpoenas issued against Google, Inc. in Sacramento, California

 2   Schroeder in Orange, California. The Google subpoena seeks a wide swath of                     well

     beyond merely the identity of the blog author. It commands production

 4                  "Documents sufficient to identify the account information for      email

 5

 6          number of the owner of this email address and the IP addres( es) from which the user
            created the account and signed in and signed out, with dates and times. You are to

 8          comply with this subpoena pursuant to the terms set forth in the Order attached

 9          hereto as Attachment B."
10          From this wide list of documents, which is unlimited as to time, Dhillon wants a precise

11   record of       time that anyone "signed in and signed out" of the account, with the exact dates

                     Under the guise of simply and merely learning the identity of individuals, she wants

     to track everyone's precise movement regarding the website up to the day of production ofthe

     information.

15          The proposed subpoena to Schroeder also seeks an impermissible             of documents:

I6                  "Documents sufficient to identify any individual(s) responsible      posting



1g          name, address, phone number and email address of any such individual, and any

19          communication between you and any such individual concerning the "Meet

            Harmeet" post, from 2/12/2013 to present. You are ordered to comply with this

            subpoena pursuant to the terms set forth in the order attached hereto as Attachment
            B."

            Once again, Dhillon is asking for extensive discovery that goes well beyond the identity          a
     blog author. She even wants all communications from Schroeder, an attorney, to anyone

25   "responsible for posting" the internet blog from February to the present day, with no regard       the

26   attorney-client privilege. The date range and breadth of this proposed subpoena                   that


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           true intention is not merely to identify Doe defendants. If that were      case,      would not

    2   asked for nine months of communications, up to the present day. Those communications have

    3   absolutely no bearing on the identification of a possible defendant in February 2013.

    4            On August 26, 2013, Dhillon filed yet another Administrative Motion (Document 24), and

    5   again gave no notice of the filing to anyone. In this motion, she claims she learned of a second

    6   email address that is being used in connection with The Munger Games blog, and that the email

    7   address is being used "to send to a list of undisclosed recipients information and updates about the

    B Munger Games blog, including links directly to the Munger Games website." Motion, p. 3

    9   Under the guise of learning the identity of Doe defendants allegedly responsible for          single

10      posting in February 2013 of Dhillon's photograph, she now wants to force Google to surrender

11      following grossly overreaching information:

12                     "Documents sufficient to identify the account information for          email

1

14             the name, address and phone number of the owner(s) of these email addresses, and

15             the IP address( es) from which the user( s) created the accounts and signed      and

16              signed out, with dates and times. You are to comply with this subpoena pursuant to

               the terrns set forth the Order attached hereto as Attachment 1.

               Once again, Dhiilon is fishing for any information about the people and process by which

        critical articles are written about her client, Munger.



           ADMINISTRATIVE MOTIONS

               F.R.C.P. 45(c) requires this Court to "protect all persons from undue burden imposed by

            of the subpoena power." ld., Advisory Committee Notes to 1991 Amendments

                                                                  149 F.R.D. 626, 628 (D. Colo. I

25      defendant, albeit an unnamed one, DOE 1 certainly has standing to contest the

26      Motions and the subpoenas.

27
                                                           - 7-
28       OPPOSITION OF DOE l AND MICHAEL J. SCHROEDER TO PLAINTIFF'S ADM!NISTRA TIVE MOTIONS FOR LEAVE
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 1           Schroeder also       the right to file this opposition. A third party whose privacy

 2   affected by the subpoena thus has standing to assert the Rule 45(c) rights.



     a subpoena served on another entity if he can show he has a personal right or

                                                                                                            (C. D.

 6   Cal. 2010). In this case, Dhillon seeks discovery of information that may include Schroeder's

 7   personal and law-related emails. His privacy rights and the attomey-client privilege are seriously
 8   implicated, and he has standing to challenge this subpoena.

 9           Dhillon had no right to fail to give notice of these motions to Schroeder.              statement in

10   the motions that there was no one upon which to serve the motion is baseless. Dhillon knows

11   Schroeder personally and professionally, and has his personal contact information that is reflected

12   on the proposed subpoena, including his business address, email address and telephone number.

13   Her attempt to obtain these subpoenas without proper notice is improper.

14   3.

15

16           It is well established that the First Amendment protects the right to anonymous speech.



18   anonymous, like other decisions conceming omissions or additions to
19   an aspect of the freedom of speech protected by the First Amendment."). The U.S. Supreme

     stressed that "Anonymous pamphlets, leaflets, brochures and even books have played an important

     role in the progress of mankind. Persecuted groups and sects from time to time throughout history

     have been able to criticize oppressive practices and laws either anonymously or not at all." -"-='=..t--'--'-


     fabric of this nation's history."                                    140 F. Supp. 2d 1088, 1          (W.D.
     Wash. 2001) (referring to the Federalist Papers).




                                                           8
      OPPOSITION OF DOE I AND MICHAEL J. SCHROEDER TO PLAINTIFF'S ADMINISTRATIVE MOTIONS FOR LEAVE
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            In the context of political speech, the Supreme Court has recognized that           Amendment

                is especially critical.     "Under our Constitution, anonymous pamphleteering is not a

                fraudulent practice, but an honorable tradition of advocacy and of dissent. Anonymity is

 4   a shield from the tyranny of the majority. It thus exemplifies the purpose behind the Bill       Rights,

 5   and of the First Amendment in particular: to protect unpopular individuals from retaliation-and

          ideas from suppression-at the hand of an intolerant society."

                                  (1995) (citations omitted).

                              touches on matters of public




11                                                                                        140 F. Supp. at



            The Ninth Circuit agrees that it is crucial to protect political speech. "Given the importance

        political speech in the history of this country, it is not surprising that courts afford political




          Amendment protection of"core political speech" is "at its zenith".

            This fundamental right e£Uoys the same protections whether the context for speech is a

             leaflet or an Internet blog.

               the level of First Amendment scrutiny that should be applied to" the Internet).

                                                                                 recent study        the Pew
               Center for the People & the Press revealed that "the internet is slowly                 in on
               as Americans' main source of national and international news."

                                                                                         (Cigel
            "I"). The study found that for adults aged 18 to 29, the number      people citing the

       their main source of news has nearly doubled from 34% to 65%.


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            The                   Amendment protects not only the content of the political speech, but the identity of

     the speaker.                 with other forms of expression, the ability to speak anonymously on the Internet

     promotes the robust exchange of ideas and allows individuals to express themselves freely without




            First, to the extent that [the speaker's] anonymity facilitates
 8          disclosure of his identity is itself an irreparable harm.
            591 F.3d 1147, 1158 (9111 Cir. 2010)("0ne injury to Proponents' First Amendment
 9          rights is the disclosure itself. Regardless of whether they prevail at     this injury
            will not be remediable on appeal."). As the Supreme Court has explained,
10          advocate may believe her ideas will be more persuasive if her readers are unaware of
            her identity. Anonymity thereby provides a way for a writer who may be personally
            unpopular to ensure that readers will not prejudge her message simply because they
12          do not like its proponent." Mcintyre, supra, 514 U.S. at 342. The            court put
            it more succinctly: "Anonymity liberates." llig!I~~~~l!ill~!ill]@g~@hJb..t~
                  385     Supp.     969 (N.D. Cal. 2005). Insofar as [the speaker] may garner a
            larger audience by employing a pseudonym, unveiling his true identity diminishes
14          the free exchange of ideas guaranteed by the Constitution.
1s          "-=-':.....:::.::C-=-"--'-"=''"   supra, 2011 WL 5444622 at *9.
16          In this case, there is no question that the content of The Munger            'LJU.H'""'   is political speech.

17   The blog discusses qualifications of political candidates, political activity and campaigns, and

18   addresses controversial issues of public interest. As such, it is the very essence of the

19   Amendment, and subject to its most rigorous protections. In turn, the identity                    the author of

     posts on The Munger Games is protected by the First Amendment.

                       Court therefore should not permit a subpoena seeking the author's identity without

     addressing             constitutional implications. As discussed in detail in the next section, this Court

     should first require Dhillon to produce evidence establishing each and every element of her alleged

     copyright claim. The Court should then engage in the required balancing test and deny the pending

     motions.




                                                                     - 10-
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     4.

 2

            Because anonymity is protected by the First Amendment, a court should quash or modify a

 4   subpoena designed to breach anonymity. See Fed. R. Civ. P. 45(c)(3)(A) (the               court must

 5 quash or modify a subpoena" when it "requires disclosure of privileged or other protected matter, ·



            Numerous cases have discussed the limitations on the subpoena power when that power is




                                membership list for the NAACP);

     ==~~'--'-=~~==-===·                89 F.R.D. 489 (C.D. Cal.l981) (discussing the First Amenctm


                      114 Wash.2d 153, 786 P.2d 781 (1990) (discussing the First




1 7 district courts have adopted different standards regarding the issue, the common theme is

18   plaintiff must make a factual showing that the case has merit before a court will enforce a

19 that infringes First Amendment rights.

                                                                                  and stressed the highest

     standard of proof when political speech is concerned. In    ~~~~:!!:L-~~~~~~'                 the Ninth
22   Circuit stated, "the many federal district and state courts that have dealt with          Issue
     employed a variety of standards to benchmark whether an anonymous speaker's identity should be



25   First Amendment rights in a baseless lawsuit, the Ninth Circuit discussed the many standards
26

27
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      proof courts have employed, ranging from a good faith showing, to a prima               showing, to a

      motion to dismiss standard. The court then stated:

 3           The district court in this case applied the most exacting standard, established by
 4           Delaware Supreme Court in                       884 A.2d     1 (Del.2005). The
             standard requires plaintiffs to be able to survive a hypothetical motion      summary
 .5          judgment and         or attempt to give, notice to the speaker before discovering the
             anonymous speaker's identity. Id. at 461. The court in Cahill therefore required that
 6           the city councilman plaintiff" 'submit sufficient evidence to establish a prima facie
             case for each essential element' " of his defamation claim.           at 463 (citation
             omitted). The court pointed to its "concern[ ] that setting the standard too low will
 8           chill potential posters from exercising their First Amendment right to
             anonymously," Id. at 457, and reasoned that "the summary judgment standard more
 9           appropriately balances a defamation plaintiff's right to protect      reputation and a
             defendant's right to speak anonymously." Id. at 462.
10
                                                   661 F.3d at 1175    76.
11

12


             1177 (emphasis added). The court noted that the speech at

      ~~~        was purely commercial speech, and thus "should be aflorded less protection        political,

      religious, or literary speech." Id.



      disclose some of the anonymous identities, and not to disclose some of the other anonymous

      identities. The court emphasized that its ruling was based primarily on the extremely limited nature

         appellate review under a writ of mandamus, which is an "'extraordinary' remedy limited to

      'extraordinary' causes."        at 11    That highly deferential standard, combined with the lower
21
      protection for commercial speech, guided the appellate decision to let the disclosure order stand.
 2
      at 1177.

             However,

                                                                                  The court noted that the




                                                      - 12
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                      ,
                              at 1177 (emphasis added).



     is political, a plaintiff seeking to force disclosure of an anonymous speaker's identity must establish

 4   each element of her cause of action under the rigorous summary judgment standard. 7                     This



 6   App'x 431,           (9th Cir. 2011), ("We have recently explained that the rigorous            standard is



            Based on this Ninth Circuit ruling, this Court should also apply                  test to determine



10   by an elected town council member and his wife. The John Doe defendant had anonymously posted

11   statements criticizing the councilman on an internet blog, and plaintiffs sought to compel disclosure

12   of John Doe's identity by serving a deposition subpoena on the owner of John Doe's internet IP

13   address. The Cahill case had facts nearly identical to this case: Doe 1 anonymously posted

14   comments on an internet blog regarding Dhillon and Munger, and Dhillon now                 to            the

15   identity of Doe 1 and any others who are associated with The Munger Games.

16          The Cahill court first addressed its grave concerns over the chilling effect

I 7 disclosure of the speaker's identity, stating that "Internet speech is often anonymous ....

18   or worse, then 'the audience must evaluate [a] speaker's ideas based on her words

19   unique feature of the [the internet] promises to make public debate in cyberspace less hierarchical

     and discriminatory' than in the real world because it disguises status indicators            as race,
     and                                 884 A.2d at 455    56 (citations omitted).

            Noting that "in general, our society accords greater weight to the value of          speech        to
     the dangers of       misuse," the Cahill court held "that a defamation plaintiff must satisfy a '



            7 Interestingly, the court also stated, "Even ifthe speech was commercial, the district
     choice of the Cahill test did not constitute clear error."


                                                           13
28    OPPOSITION OF DOE 1 AND MICHAEL J. SCHROEDER TO PLAINTIFF'S ADMINISTRATIVE MOTIONS FOR LEAVE
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        judgment' standard before obtaining the identity of an anonymous defendant. We are concerned

   2    that setting the standard too low will chill potential posters from exercising their      Amendment

             to speak anonymously." Id. at 457. Thus, to obtain discovery of an anonymous'-'"''"'"'·"""'



   .5   sufficient evidence to establish a prima facie case for each essential element of

  6     question. In other words, the defamation plaintiff ... must introduce evidence creating a

   7    issue of material fact

        done so.
  9            Notably, the Cahill case concerned alleged defamation rather than alleged copyright

10      infringement.    Defamatory speech is not entitled to First Amendment protection.

11                                  315 U.S. 568, 572 (1942). Copyright law, however, contains

12      exceptions to alleged infringement, including the "Fair Use" doctrine discussed later



14      which is less harmful and more protected than defamatory speech. In addition, several courts that

1 .5         addressed this issue in the copyright context have also held plaintiff to this heightened standard

16      ofproofbefore an anonymous speaker's identity will be disclosed.

17             To date, the Second Circuit is the only federal circuit court that has addressed



        identity of individuals who had illegally downloaded music recordings by serving a subpoena on

        common ISP.      Noting that the First Amendment does not "provide a license for copyright



                                                                  Supp. 2d 556 (S.D.N.Y. 2004), which
               1 - the concreteness of the plaintiff's showing

               2   the specificity of the discovery request,

2 Jr           3   the absence of alternative means to obtain the subpoenaed information,

26             4 - the need for subpoenaed information to advance the claim, and

27
                                                         - 14-
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               5   the objecting party's expectation of privacy.

                      604 F .2d at 119, quoting, Sony Music,           326     Supp. at 564 - 65 (emphasis



 4   action.

 5             A number of district courts have required the same          the intellectual property

 6   including several from the Northern District of California.                                   385
     2d 969 (N.D. Cal. 2011) (granting a motion to quash, stating plaintiff seeking to discover identity

 a   anonymous internet speaker must show there is real evidentiary basis for claim, including trademark

                                         722     Supp. 2d 1210, 1213-14 (W.D. Wash. 2010)                          a

10   motion to quash, and stating "plaintiff must, in general allege a facially valid cause of action

11   produce prima tacie evidence to support all of the elements of the cause of action within his or

1 2 control").
               One particularly instructive case is                                       2011 WL ....-..-T,,_,..,.._

14   (N.D. CaL Nov. 9, 2011). In                      an anonymous internet poster sharply criticized the

1 5 of Living Foundation ("AOLF"), which styled itself an "international 'educational

16 humanitarian' organization dedicated to teaching the spiritual lessons of 'His                             Ravi

     Shankar."' Id. at * 1. The Doe defendants published postings that called AOLF a manipulative and

18   abusive cult, and also allegedly published AOLF's "Breate Water Sound ManuaL              Doe   flF''''',"

19   claimed they published the manual to "debunk the notion that Ravi Shankar is an enlightened

     being", and that they removed the manual shortly after receiving a DMCA takedown notice.

     Plaintiff sued for copyright infringement and other claims.



     nature of the speech at issue, and quashed the subpoena. The court stated, "In choosing the proper

     standard to apply, ==--==-=--==-~==-=='---""""--"~--"-"==-~~=-==~===~c...L-.-=




                                                        - 15 -
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     commercial speech should be subject to a lesser standard."       at *5. (emphasis added).



     concerns because it was commentary on a public issue. It thus was subject to the most

 4   protections, and the Highfields standard was appropriate:

 5          ~==~       establishes a two-part test for determining whether to allow discovery
 6          seeking the identity of an anonymous defendant: (1) The plaintiff must produce
            competent evidence supporting a finding of each fact that is essential to a
 7          cause    action; and (2) if the plaintiff makes a sufficient evidentiary showing, the
            court must compare the magnitude of the harms that would be caused to the
            competing interests by a ruling in favor of the plaintiff and by a      in favor of
            defendant.    975-76.
 9

10

11

12
            It is not enough for a plaintiff simply to plead and pray. Allegation and speculation
13          are insufficient. The standards that inform Rule 8 and Rule 12(b)(6) offer too little
            protection to the defendant's competing interests. Thus, the plaintiff must adduce
14          competent evidence-and the evidence plaintiff adduces must address all of the
            inferences of fact that plaintiff would need to prove in order to prevail under at least
15
            one of the causes of action plaintiff asserts. In other words, the evidence that plaintiff
16          adduces must, unrebutted, tend to support a finding of each fact that is               to
            a given cause of action. The court may not enforce the subpoena          under
17          showing, any essential fact or finding lacks the requisite evidentiary support.

lH
            The court proceeds to the second component of the test if, but only if, the plaintiff
19          makes an evidentiary showing sufficient to satisfy the court in the   component of
            the test. reached, the second component of the test requires the court to assess and
            compare the magnitude of the harms that would be caused to the competing interests
21          by a ruling in favor of plaintiff and by a ruling favor of defendant.

 2
                               385    Supp. 2d at 974-76.




     word gets out that the price tag of effective sardonic speech [includes disclosure of the     -~P'-"'H'-'"''

     identity], that speech likely will disappear."

                                                      - 16
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        present case, and this court should follow its persuasive and well-supported reasoning.

               In the instant case, as discussed in the next section, Dhillon certainly has not made         an

        evidentiary showing. The fair use doctrine serves as an absolute defense to

        in this case. Therefore, this Court should deny the motions and should not permit

    6   the subpoenas.

    7 5.

    a
    9          To establish infringement of copyright, "two elements must be proven: (1) ownership of a

I0      valid copyright, and (2) copying of constituent elements of the work that are originaL"
11

12      358(1991).

13      1178 (9th Cir.20 11 ), the court phrased the second element as "violation by the alleged infringer

14      at least one of the exclusive rights granted to copyright owners by the Copyright Act" Dhillon

        cannot meet her burden of proof on these elements. Specifically, she cannot present sufficient

        evidence of actual infringement She alleges that Doe 1 used her headshot publicity photograph in

1       an article entitled "Meet Harmeet" on The Munger Games political blog. (Cigel DecL,

18             Under the "Fair Use" doctrine, this is not infringement of a copyrighted work. As stated




                        [E]vidence of copyright infringement does not automatically remove the
               .,,..,~,.("·t\
                       at issue from the scope of the First Amendment. While "the First Amendment
               does not shield copyright infringement," (citation omitted) "copyright law contains
               built-in First Amendment accommodations."                            U.S. 186, 21
               20 (2003). Perhaps the most important is the doctrine of fair use .... 17 U.S.C. §
               107;                                                       349 F.3d        626 (9th
               Cir.2003) ("First Amendment concerns in copyright cases are subsumed within the
               fair use inquiry.").

                                    2011 WL 5444622 at *6.


                                                         17-
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               The "fair           of a copyrighted work "for purposes such as criticism, comment, news

 2   reporting, teaching (including multiple copies for classroom use), scholarship, or research" is not an

 3   infringement of copyright. In determining whether the use made of a work                 any particular case is

 4   a       use the factors to be considered shall include--

 5             (1) the purpose and chamcter of the use, including whether such use is          a commercial

 6             nature or is for nonprofit educational purposes;

 7             (2) the nature of the copyrighted work;

               (3) the amount and substantiality       the portion used in relation to the copyrighted          as a

 9             whole; and

               (4) the effect of the use upon the potential market       or value     the copyrighted work.

11          fact that a work is unpublished shall not itself bar a t1nding of fair use             finding is

12   upon consideration of all the above factors. 17 U.S.C. § 107.

13             This exception "permits courts to avoid rigid application of the copyright statute when, on

14   occasion, it would stifle the very creativity which that law is designed to foster."

LS   =:..:-;::~'"'"'   336    3d 811, 817 (9th Cir. 2003), quoting,~~~~~~~.......:!..:.~~~~~

                       109 F. 3d 1394, 1399 (9th Cir. 1997). The ~=.....::;:.;:;:.=

17   balance these factors in light of the objectives of copyright law, rather than view them as



19             Each of these four elements will now be discussed         the following subsections.



               The question regarding this factor is "whether the new work merely supersede[s] the objects

     of the original creation, or instead adds something new, with a further purpose of

     character, altering the            with new expression, meaning, or                 it

     whether and to what extent the new work is transformative."

     510 U.S. 569, 579 (1994). The more transformative the new work, the                       important the other

     factors, including commercialism, become." Id. "Typically, a work created for commercial use is


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      less likely to bear fair use protection; however, the commercial/non-commercial distinction is

 2    significant the more transformative the work is."



 4            Cases have consistently held that reproducing a photographic tmage for

 5 criticism or commentary is transformative, and thus cannot constitute copyright                           In
                                                                                                       search
  7 results in the form of thumbnail photographic images. Plaintiff was a photographer whose photos

 B        American West appeared in defendant's search engine results.

 9            The court focused on the fact that the search engine's images served an entirely

10    function that the original photographic images, and found no infringement. While

·11   photographer's "images are used to portray scenes ... in an aesthetic manner, ... Arriba's

                                                                                                            336

13    F.3dat818.
14                                                                    F.Supp. 1       1536 (C.D.       1985),

15           796 F .2d 1148 (9th Cir. 1986), Hustler magazine brought an infringement action against a

16    fundamentalist minister for reproducing the magazine's parody ads that prominently featured

1 7 minister. The court found that the minister had reproduced the ad as part of a "broader, continuing

18    debate over pornography and other social issues" between the magazine and the minister.           court

19    found no infringement and granted summary judgment in favor of the minister.

              The court stated, "[W]hen an act of copying occurs in the course          a political, social or
      moral debate, the public interest in free expression is one factor favoring a finding of fair use."



      959-60 (D.N .H. 1978) (political committee's use of a portion of rival candidate's
24    composition amounted to fair use in light of public interest in full debate over election      absence
      of injury to plaintiff).

 6

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                                                       19-
28     OPPOSITION OF DOE lAND MICHAEL J. SCHROEDER TO PLAINTIFF'S ADMINISTRATIVE MOTIONS FOR LEAVE
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             The recent                          case also discussed the fair use doctrine in the context

     reproducing an entire pamphlet for purposes of criticizing its author as a sham and a fraud.

                                                                                                              use,

 4   "the circumstances here create a substantial question as to whether the doctrine applies."

 5                     2011 WL 5444622 at *5.

 6   ===·   904 F.2d 152 (2d Cir.l990) (the use of copyrighted quotations             a biography of Church
 7   Scientology founder             Ron. Hubbard was protected where the intended purpose of the work was to

 a   show that "Hubbard was a charlatan and the Church a dangerous cult").

 9          Several other recent district court opinions have found that using a photo for purposes



11   2009 WL 21                 at     (N.D. Cal. 2009) (finding that defendant's use of photographs

12   plaintiff's executives as a vehicle for criticizing plaintiff's alleged

1 3 "fundamentally different" than the original promotional reason),                     F. App'x 651 (9 1h




18   in a chapter of a book criticizing the nuclear industry's and the government's portrayal of

1 9 power as safe).

            In the present case, the use of Dhillon's photograph was clearly transformative. Dhillon's

     stated original purpose of the photo was for publicity for a political campaign, whereas The Munger
     Games used the photo for purposes of criticizing Ms. Dhillon's political activities.                     two
2 3 purposes could not be more different.

            In addition, The Munger Garnes did not use the photo for any commercial purpose
25   whatsoever, which increases the inference of fair use. Instead, The Munger Games posted              photo
2 6 on a free   n"'T'"""'"T   blog for purposes of engaging in political debate over an issue of public concern.


                                                      20-
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     The Munger Garnes' use      therefore, is at the        core of the First Amendment. It is subject to

 2   most rigorous protection.



 4

 5          Works that are creative in nature are closer to the core          intended copyright
            protection than are more fact-based works." Photographs that are meant to      viewed
 6
            by the public for informative and aesthetic purposes . . . are generally creative in
 7          nature. The fact that a work is published or unpublished also is a critical element of
            its nature. Published works are more likely to qualify as fair use because        first
 8          appearance of the artist's expression has already occurred.

 9
10   U.S. 539, 564 (1985) (noting that the scope of fair use is nanower with respect to unpublished

11   works because the author's right to control the first public appearance of his work

12   the use ofhis work before    release).

13          In this case, Dhillon has, by her own allegations, extensively published and released

14   publicity headshot photo to the general public over the course of the past several               As she

15   freely admits in Paragraph 14 of her Complaint, "Ms. Dhillon has used the 2008 Photograph,

16   including the Headshot Photograph, in connection with her campaign for Member of the State

1 7 Assembly, beginning in or around June 2008, as well as in connection with her subsequent

1 B campaigns, political activities, and various professional marketing efforts." (Complaint at , 14,

1q   Doc. 1).

            Therefore, the single isolated use of Dhillon's widely published headshot publicity is more

     likely to be fair use than not, especially because she is a political public figure.           addition,

22   although a photographer's use of lighting or angle or setting sometimes may be deemed "creative",

23   Dhillon's purpose in commissioning the photo (which seems to have been taken outside with her

     standing in sunlight next to a building) was for campaign publicity. (Complaint at        ,f 11, Doc.   I).

     The subject photo was obviously for the purpose of identification and face recognition rather than

     creative aesthetics. Thus, this factor weighs in The Munger Games' favor as well.

27
                                                        - 21 -
2B    OPPOSITION OF DOE I AND MICHAEL J. SCHROEDER TO PLAINTIFF'S ADMlNISTRA TIVE MOTIONS FOR LEAVE
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 2              stated

 3   character of the use. (citation omitted) Ifthe secondary user only copies as much as is necessary for

 4   his or her intended use, then this factor will not weigh against him or her."                       336



     image to allow users to recognize the image and decide whether to pursue more information ....

     Arriba only copied part of the image, it would be more difficult to identify it, thereby reducing

 8   usefulness ofthe visual search engine." Id. at 821.

 9          In the present case, the purpose of The Munger Games' use of the photograph was to allow

10   readers to identify Dhillon, the subject of the political blog article. It is impossible to use only a

11   portion of that tightly-cropped headshot photograph. It should be beyond dispute that The Munger

12   Games copied only as much of the photo as was necessary.



14

15

16   alleged copying harmed the copyright owner's market, or would have a substantial adverse impact

1 7 on the potential market for the originaL Id. at 821. In this case, there simply is no market

18   Dhillon's widely-used and now out-of-date publicity headshot photograph. She cannot identify

19   market and has never alleged that she sells her publicity headshot for profit. On the contrary, as

     already stated, she widely used the photo in political campaigns and in marketing efiorts.

21          Doe 1 cannot conceive of any market that is harmed by copying a widely published publicity

22   headshot into a political blog for purposes of political debate. By its nature, a publicity photo is

23   distributed free and in mass for purposes of generating media attention and notoriety. In addition,

     that photograph has been removed from the "Meet Harmeet" article on mungergames.net. (Cigel

     DecL, Exhibit "D"). Thus, this factor weighs    mungergames.net's favor as welL




                                                     - 22-
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             In summary, each of the four "Fair Use" factors weigh heavily in finding that                  was no

 2   copyright infringement. The photo was used for First Amendment political commentary, a purpose

     very different from the original purpose of campaign publicity, and therefore "transformative."

 4   photo had been widely distributed and published prior to its appearance on mungergames.net, which

 5 copied only as much of the photo as was necessary, and there was no impact on any potential

 6 market for a photo that was used for publicity rather than sold.
             Thus, because The Munger Games' alleged copying was "Fair                              is no copyright
     infringement as a matter of law.       Dhillon cannot present any evidence to counter a finding

 9   use, and she could not withstand a motion for summary judgment as required for political speech.

10 6.
11

12           As stated in the cases discussed above, even if a plaintifi submits sufficient evidence
13   infringement, courts should still balance the potential harm to the defendant ...,.,..,.... . .,

14              disclosure of his identity.                                             F. Supp. 2d at
15                        385 F.Supp.2d at 975- 76 (court should

16 the harms that would be caused to the competing interests by a ruling in favor of plaintiff and

1 7 ruling     favor of defendant.")

18

19   anonymous defendant, knowing they will lose, but still be successful in their main goal:
20   their         identity. "After obtaining the identity of an anonymous critic through the compulsory

21   discovery process, a ... plaintiff who either loses on the merits or fails to pursue a lawsuit is still



                                                   884 A.2d at 457 (emphasis added). That is one of the


25   speech, rather than the lower good faith standard. Id.
26

27
                                                          -23-
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                   Similarly, in this case, Dhillon's $250 copyright infringement claim does not   e~nn.Pe~r

         It is merely a vehicle to serve multiple subpoenas to unmask the identity of the Doe defendants, and

   3     thereby chill free speech under the First Amendment.      In addition, as Dhillon certainly knows,

   4     is not even entitled to the attorneys' fees she seeks in her Complaint, nor to any statutory damages.

         Mungergames.net's alleged infringement occurred on February 1 2013. However, Dhillon did not

              to register her copyright until February 21, 2013, when she submitted her complete application.

         (Complaint at~~ 15, 17, Doc. 1).

   B              Where a copyright owner fails to register its work within three months of publication and the

   9     purported infringement occurs prior to registration, the copyright owner is not entitled to statutory

10       damages or attorney's fees. 17 U.S.C. § 41

11                 Thus, this case cannot be about a true interest in protecting a copyright, or

12       compensation. Instead, this case consist entirely of improper intent to seek the identity

1 .)')   seek revenge against, someone who is critical of Dhillon's and Munger's politics.

14       First Amendment applies to the copyright laws at least to the extent that the courts should not

15       tolerate any attempted interference with the public's right to be informed regarding matters

l6       general interest when anyone seeks to use the copyright statute which was designed to protect

         interests of quite a different natme." ~~~!!.!:..~~~~~~.!.....!._,__£~~~~~~~,

18       303, 311 (2d Cir. 1966) (Lombard, J. and Hays, J., concurring).

19

         grounds, to a Howard Hughes-owned entity that had sought to prevent publication of a biography

         that was critical of Hughes. Id. The concurring Justices found it significant that the record "pointed

         to the            of a scheme developed by Hughes and his attorneys and employees to                     the

         publication of any biography of Hughes and, in particular, the [critical] biography.      at311-12.

                  Similarly, in this case, the reasonable inference from Dhillon's complaint is that           matter

         is not about copyright infringement at alL Dhillon was not selling her headshot, but was instead

         publishing it freely to anyone who would give her campaign publicity.                  so, Dhillon is so


                                                            24
          OPPOSITION OF DOE lAND MICHAEL J. SCHROEDER TO PLAINTIFF'S ADMINISTRATIVE MOTIONS FOR LEAVE
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      determined to find out who is behind The Munger Games blog that          IS   now        a subpoena

 2    against Google in Sacramento and subpoena against Schroeder in Orange.

             Thus, the potential harm to Doe 1 and others is great. By contrast, the potential           to

 4    Dhillon if the Administrative Motions are denied is nonexistent. The cost to Dhillon of pursuing this

 5    matter to judgment is exponentially greater than the $250 in damages she seeks. Balancing these

 6    competing interests, this Court should deny the motions.

 7    7.
 8           For all the foregoing reasons, Doe 1 and Schroeder respectfully request this Court to

 9    both Administrative Motions. Dhillon should not be allowed to use this lawsuit, and         mvas1ve

10    subpoenas against anonymous political bloggers, as a tool to further Munger's intention in

'11   squashing vital political discourse.

12    Dated: October 1, 2013                   KARLIN & KARLIN
13

14

15                                              By:
                                                      Marc A. Karlin
16
                                                      Attorneys for
17                                                    DEFENDANT DOE 1 AND THIRD-PARTY
                                                      MICHAEL J. SCHROEDER
18




22

23


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 1                                            PROOF OF SERVICE

 2   UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
 3
     CASE NAME: HARMEET K. DHILLON v. DOE 1
 4   CASE NO.   C 13-1465 SI

 5           The undersigned declares: I am a resident of the United States and am employed in the
     City and County of Los Angeles, State of California; I am over the age of eighteen years and
 6
     not a party to the within action; my business address is 10866 Wilshire Boulevard, Suite 400,
 7   Los Angeles, California 90024.

 8            On October I, 2013, I served the following documents:

 9    1.     DECLARATION OF RICK A. CIGEL

10    2.     MEMORANDUM OF POINTS AND AUTHORITIES OF DEFENDANT DOE 1 AND
             THIRD-PARTY MICHAEL J. SCHROEDER IN OPPOSITION TO PLAINTIFF'S
11           ADMINISTRATIVE MOTIONS FOR LEAVE TO TAKE LIMITED DISCOVERY PRIOR
             TO A RULE 26(t) CONFERENCE
12
       3. CERTIFICATTION OF INTERESTED ENTITIES OR PERSONS
13
     By serving in the manner described below to the interested parties herein and addressed to:
14
15   Harold P. Smith                                        Joel Voelzke
     Krista L. Shoquist                                     Intellectual Property Law Office of Joel Voelzke
16   Dhillon & Smith, LLP                                   24 772 W. Saddle Peak Road
     177 Post Street, Suite 700                             Malibu, CA 90265-3042
17   San Francisco, CA 941 08
                                                            Attorney for New Dream Network
18   Attorneys for Dhillon
19
      GJ      ELECTRONIC MAILING: I emailed copies of all documents to the above party(s) at their
              respective email addresses as shown above.
20

21    0       MAIL: I caused such envelope(s) to be deposited in the mail at my business address, with
              postage thereon fully prepaid, addressed to the addressee(s) designated. I am readily familiar
22            with the business practice of collecting and processing correspondence to be deposited with the
              United States Postal Service on that same day in the ordinary course of business.
23

24
     0        (FEDERAL): I declare that I am employed by the office of a member of the bar of this court at
              whose direction the service was made.
25
           Executed on October 1, 2013 at Los Angeles, California.
26



28


                                                   Proof of Service
